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                              UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


Christine Whalen, et al.,                            Case No. 3:23-cv-00459-VC

                      Plaintiffs,                    DECLARATION OF DANIEL B.
                                                     ASIMOW IN SUPPORT OF
           vs.                                       DEFENDANTS’ MOTION TO DISMISS
                                                     AND IN OPPOSITION TO PLAINTIFFS’
The Kroger Co., Albertsons Companies, Inc.,          MOTION TO LIFT STAY AND MOTION
and Cerberus Capital Management, L.P.,               FOR SUMMARY JUDGMENT.

                       Defendants.                   Judge: Hon. Vince Chhabria
                                                     Courtroom: Courtroom 4 – 17th Floor




DECL. OF DANIEL ASIMOW ISO DEFENDANTS’ MOTION TO DISMISS AND IN OPPOSITION TO PLAINTIFFS’ MOTION
                        TO LIFT STAY AND MOTION FOR SUMMARY JUDGMENT
                                        Case No. 3:23-cv-00459-vc
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I, Daniel B. Asimow, declare, as follows:

       1.     I am over 18 years of age. I am a partner at the law firm Arnold & Porter Kaye Scholer

LLP, counsel for Defendant The Kroger Co. (“Kroger”) in this matter.

       2.     I have personal knowledge of the matters set forth in this declaration and am competent

to testify about them. I submit this declaration in support of Kroger and Albertsons’ Motion to

Dismiss and Opposition to Plaintiffs’ Motion to Lift Stay and Motion for Summary Judgment.

       3.     Attached as Exhibit A is a true and correct copy of a December 13, 2024 letter from

Kroger’s counsel to the Federal Trade Commission’s (“FTC”) Premerger Notification Office formally

withdrawing Kroger’s Premerger Notification and Report Form.

       4.     Attached as Exhibit B is a true and correct copy of a December 13, 2024 letter from

the Albertsons Companies, Inc.’s counsel to the FTC’s Premerger Notification Office formally

withdrawing Albertsons Companies, Inc.’s Premerger Notification and Report Form.

       5.     Attached as Exhibit C is a true and correct copy of a December 16, 2024 Joint Motion

to Dismiss filed by Kroger and Albertsons Companies, Inc. in In the Matter of The Kroger Co. and

Albertsons Companies, Inc., FTC Docket No. 9428.

       6.     Attached as Exhibit D is a true and correct copy of Albertsons Companies, Inc.’s SEC

Form 8-K dated December 10, 2024.

       7.     Attached as Exhibit E is a true and correct copy of Kroger’s SEC Form 8-K dated

December 11, 2024.

       8.     Attached as Exhibit F is a true and correct copy of the public version of the Verified

Complaint in Albertsons Companies Inc. v. The Kroger Co., No. 2024-1276-LWW (Del. Ch. Dec.

14, 2024).

       9.     Attached as Exhibit G is a true and correct copy of a November 15, 2023 letter from

Kroger’s counsel to Plaintiffs’ counsel enclosing documents submitted by Kroger to the FTC in

response to the FTC’s Second Request.




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DECL. OF DANIEL ASIMOW ISO DEFENDANTS’ MOTION TO DISMISS AND IN OPPOSITION TO PLAINTIFFS’ MOTION
                        TO LIFT STAY AND MOTION FOR SUMMARY JUDGMENT
                                       Case No. 3:23-cv-00459-vc
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       10.    Attached as Exhibit H is a true and correct copy of a November 15, 2023 letter from

Albertsons Companies, Inc.’s counsel to Plaintiffs’ counsel enclosing documents submitted by

Albertsons Companies, Inc. to the FTC in response to the FTC’s Second Request.



       I declare under penalty of perjury that the foregoing is true and correct.


Dated: December 24, 2024                      /s/ Daniel B. Asimow
                                              Daniel B. Asimow




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DECL. OF DANIEL ASIMOW ISO DEFENDANTS’ MOTION TO DISMISS AND IN OPPOSITION TO PLAINTIFFS’ MOTION
                        TO LIFT STAY AND MOTION FOR SUMMARY JUDGMENT
                                       Case No. 3:23-cv-00459-vc
